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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES

 Date: August 24, 2022               Time: 2:46-2:54                      Judge: EDWARD M. CHEN
                                           8 Minutes

 Case No.: 20-cr-00321-EMC-1,3 Case Name: United States v. Behm; United States v. Clark

Attorney for Government: Colin Sampson
Attorneys for Defendant: Tamera Crepet and Drew Findling
Defendants: [ X] Present [ ] Not Present
Defendants Custodial Status: [ ] In Custody [X ] Not in Custody

  Deputy Clerk: Vicky Ayala                            Court Reporter: Belle Ball

                                       PROCEEDINGS

Status Conference.

                                          SUMMARY

Parties stated appearances. Parties agreed to appear via Zoom given public health risk.

Trial is scheduled for 2/27/2023. Parties stated trial should last two weeks. Both defense
counsel does not anticipate any further motions other than pretrial motions. If additional motions
are needed; they will contact the Court right away.

Government indicated currently there is not much to update the Court on; it will send out a draft
exhibit list soon. Both defense counsel advised they have been in discussions with the
government regarding outstanding discovery which have been going well.

Court granted exclusion of time from today through 2/27/2023.

CASE CONTINUED TO: 11/16/2022, at 2:30 PM for a status conference.
